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                                           14                      UNITED STATES DISTRICT COURT
                                           15                     CENTRAL DISTRICT OF CALIFORNIA
                                           16                     (WESTERN DIVISION - LOS ANGELES)
                                           17 ERIC WEBER and BRYAN REES,                Case No.: 2:17-cv-08868-GW(Ex)
                                           18            Plaintiffs,                    DEFENDANTS’ SUPPLEMENTAL
                                                                                        REPLY BRIEF IN SUPPORT OF
                                           19        v.                                 MOTION TO COMPEL
                                                                                        ARBITRATION AS TO ERIC
                                           20 AMAZON.COM, INC., and AMAZON              WEBER
                                              SERVICES LLC,
                                           21                                           Judge:      George H. Wu
                                                         Defendants.                    Trial Date: NONE SET
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                                            1         Mr. Weber has agreed to arbitrate disputes with Amazon many times,
                                            2 including within the past two months when there is no question that he was on
                                            3 notice that Amazon’s terms contained an arbitration provision. Faced with clear
                                            4 evidence of assent, Mr. Weber now attempts to muddy the record by contradicting
                                            5 his earlier sworn declaration and manufacturing factual disputes where none exist.
                                            6 This new testimony fails to overcome the stipulated evidence that Mr. Weber had
                                            7 inquiry notice of Amazon’s Conditions of Use, and subsequently agreed to them.
                                            8 Plaintiff also fails to do the one thing the Court asked: provide case law about
                                            9 whether the Ninth Circuit’s Douglas decision allows Plaintiff to invalidate
                                           10 agreements he accepted when engaging in new transactions governed by new terms.
                                           11 See Dkt. 35 at 16 and n.1. No court has interpreted Douglas as broadly as Plaintiff
                                           12 seeks, and the Court should decline to do so here.
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                                           13                                     ARGUMENT
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                                           14 I.      MR. WEBER ASSENTED TO AMAZON’S TERMS WHEN MAKING
                                           15         PURCHASES THROUGH ITS DESKTOP AND MOBILE FLOWS.
                                           16         Plaintiff attempts to manufacture a factual dispute to avoid the obvious and
                                           17 necessary result of Mr. Weber’s repeated assent to Amazon’s terms. He claims that
                                           18 he does not know the specific dates on which he used the desktop checkout process
                                           19 to make purchases (which the Court has ruled would constitute assent), as opposed
                                           20 to the mobile checkout process (which the Court has not ruled on, but which also
                                           21 creates assent). But a single desktop purchase is sufficient to bind Mr. Weber to the
                                           22 arbitration clause; no inference against him is necessary, as he admits he made
                                           23 multiple recent purchases on the desktop purchase flow. Moreover, Amazon’s
                                           24 mobile purchase flow meets the criteria that the Court applied in finding that the
                                           25 desktop flow affords proper notice. Plaintiff’s tortured argument that he clicks only
                                           26 the lower purchase button on the mobile checkout not only contradicts his earlier
                                           27 testimony, but is immaterial under the governing “inquiry notice” standard. Under
                                           28 any objectively reasonable test, a notice at the top of a purchase confirmation
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                                            1 page—stating “by completing your purchase” you agree to conditions of use—
                                            2 provides valid notice of those terms.
                                            3         A.    Mr. Weber admitted he makes purchases through the Amazon
                                            4               desktop site, which the Court has said would create assent.
                                            5         Plaintiff suggests that the Court cannot determine whether Mr. Weber made
                                            6 purchases on the Amazon desktop website (which the Court has already said would
                                            7 constitute assent, Dkt. 35 at 13-14), or if he did so via the mobile website. But Mr.
                                            8 Weber admitted in two signed declarations that he makes at least some of his
                                            9 purchases—including recent purchases—on the desktop. Dkt. 30-1 ¶ 4; Dkt. 44-2
                                           10 ¶ 2. Between his two accounts, Mr. Weber placed several hundred purchase orders
                                           11 on Amazon using standard checkout flows after Amazon introduced the arbitration
                                           12 provision on August 19, 2011. See Dkts. 39-14, 39-15 (listing Mr. Weber’s
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                                           13 purchase history, including purchase dates); see also Dkt. 39 at ¶ 14 (“Mr. Weber
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                                           14 does not dispute that he has used the standard checkout method.”). By Mr. Weber’s
                                           15 own estimate, roughly 20% of these would have occurred on the Amazon desktop
                                           16 checkout flow. Dkt. 44-2 ¶ 2. The specific dates of those purchases are immaterial.
                                           17 Any one of those purchases bound Mr. Weber to the arbitration clause.1 (By
                                           18 contrast, Mr. Weber collectively placed fewer than two dozen purchases on his
                                           19 Amazon accounts before August 19, 2011. See Dkts. 39-14, 39-15.)
                                           20
                                           21
                                           22   1
                                                  Plaintiff erroneously suggests that Amazon’s historical desktop checkout flows,
                                           23   which were at issue in Nicosia v. Amazon.com, Inc., 834 F.3d 220 (2d Cir. 2016),
                                                did not offer sufficient inquiry notice. See Dkt. 44 at 3 (citing Dkt. 30-6). But, as
                                           24   Amazon pointed out in its original reply on this motion (see Dkt. 33 at 9-10), those
                                                flows contain the same disclosures that the Southern District of California approved
                                           25   in Fagerstrom v. Amazon.com, Inc., 141 F. Supp. 3d 1051 (S.D. Cal. 2015).
                                                Compare Dkt. 30-6 (flows from Nicosia), with Dkt. 33-5 (flow from Fagerstrom).
                                           26   Indeed, in affirming Fagerstrom, the Ninth Circuit held those pages gave the
                                           27   plaintiff a “‘reasonable opportunity to understand’ that he would be bound by
                                                additional terms.” Wiseley v. Amazon.com, Inc., 709 F. App’x 862, 864 (9th Cir.
                                           28   2017).
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                                            1         B.    Amazon’s mobile checkout also gave Mr. Weber proper notice.
                                            2         Even if Mr. Weber had not admitted that he made purchases via the Amazon
                                            3 desktop, his purchases through the mobile checkout flow would also create assent.
                                            4 Plaintiff wrongly suggests that Amazon’s mobile checkout flow contains a legally
                                            5 fatal “design flaw” that was “pointed out more than a year ago” in connection with
                                            6 an earlier motion to compel in the related McKee v. Audible case. See Supp. Opp.
                                            7 at 3. But this Court did not rule on the sufficiency of Amazon’s mobile checkout
                                            8 page in the McKee case, and the order Plaintiff cites largely concerns the
                                            9 sufficiency of Audible’s mobile sign-up page—not Amazon’s mobile checkout
                                           10 page. See McKee v. Audible, Inc., Case No. 2:17-cv-01941-GW (Ex), Dkt. 37 at
                                           11 11-13. To the extent that this Court in McKee discussed Amazon’s checkout flows,
                                           12 it held that the “checkout page provides sufficient notice of the Amazon COU” and
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                                           13 furnished a valid basis for compelling arbitration as to Amazon. See id. at 17 n.7.
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                                           14         Amazon’s mobile checkout page contains features and design elements that
                                           15 the Court cited as reasons that the standard Amazon desktop flow affords
                                           16 constructive notice. See Dkt. 35 at 13-14. Like the Amazon desktop flow, the
                                           17 disclosures are immediately visible without scrolling. The Amazon mobile
                                           18 checkout page informs the customer at the very top of the checkout screen, called
                                           19 out in hyperlinked text, “By placing your order, you agree to Amazon.com’s
                                           20 privacy notice and conditions of use.” Dkts. 39-17 and 39-18. This notice is the
                                           21 first thing a customer sees on the checkout page, and it is immediately above a
                                           22 checkout button. Customers are directed exactly where to click to read the terms.
                                           23 These disclosures are not buried at the bottom of the page, on a submerged screen,
                                           24 or obscured through pop-ups or keyboards. The disclosure also uses linguistic
                                           25 precision that corresponds to the action being taken (placing an order). See Dkt. 35
                                           26 at 13-14 (citing cases). This page provides clear constructive notice, and the fact
                                           27 that a user can also scroll to read other parts of the same page does not change that.
                                           28
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                                            1         C.    Mr. Weber’s contradiction of his own sworn testimony does not
                                            2               create a meaningful factual dispute as to constructive notice.
                                            3         Mr. Weber next attempts to manufacture a factual dispute by contradicting
                                            4 his prior testimony. He suggests that, when using Amazon’s mobile checkout, he
                                            5 always scrolls past the upper checkout button with adjacent disclosure, and instead
                                            6 clicks on the lower checkout button on the same page. See Dkt. 44-2 ¶ 2. This
                                            7 statement contradicts his sworn declaration from two months ago, in which he
                                            8 stated that he “cannot be sure” which button on the mobile checkout page he uses.
                                            9 Dkt. 30-1 ¶ 4. The Court does not need to consider statements in which a party
                                           10 contradicts himself in order to manufacture a factual dispute. See Davis v. Foster
                                           11 Wheeler Energy Corp., 205 Cal. App. 4th 731, 736 (2012). Moreover, even if this
                                           12 new testimony could be believed, it makes no difference. The standard for assent is
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                                           13 constructive notice, not subjective practice or personal habit. The disclosures at the
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                                           14 top of Amazon’s mobile checkout flow puts a reasonably prudent person on notice
                                           15 that making a purchase requires assent to its terms. See, e.g., Meyer v. Uber Techs.,
                                           16 Inc., 868 F.3d 66, 77-78 (2d Cir. 2017). Mr. Weber may have chosen to ignore the
                                           17 disclosures that Amazon showed him, but he is still bound by them under an
                                           18 objective standard.
                                           19 II.     BECAUSE MR. WEBER AGAIN ACCEPTED AMAZON’S TERMS
                                           20         AFTER ACKNOWLEDGING THAT THEY HAD CHANGED, THE
                                           21         COURT DOES NOT NEED TO ANALYZE DOUGLAS.
                                           22         On March 7, 2018, seeking to avoid enforcement of Amazon’s arbitration
                                           23 agreement, Mr. Weber acknowledged that Amazon’s terms had changed: “I did not
                                           24 know that Amazon has periodically and unilaterally modified the contract terms I
                                           25 agreed to.” Dkt. 30-1 ¶ 3 (Weber declaration “in Support of His Opposition to
                                           26 Amazon’s Motion to Compel Arbitration”) (emphases added). Just days later, Mr.
                                           27 Weber went on the Amazon website and placed several additional orders, and
                                           28 thereby agreed to the terms once again. Dkt. 39-15 at 11. The fact that he knew
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                                            1 that the terms had changed and still consented to them means the Court does not
                                            2 need to address the Douglas question.
                                            3         In an attempt to put the toothpaste back in the tube, Plaintiff raises the
                                            4 remarkable argument that—despite opposing this pending motion to compel
                                            5 arbitration—he still doesn’t know that Amazon had changed its terms to include an
                                            6 arbitration agreement. Supp. Opp. at 6-7. He asserts that “Amazon has never given
                                            7 Weber actual knowledge of its modified COU.” Supp. Opp. at 6 (emphasis added).
                                            8 But the law does not require “actual knowledge” of an agreement’s precise terms.
                                            9 See, e.g., Plazza v. Airbnb, Inc., 289 F. Supp. 3d 537, 548 (S.D.N.Y. 2018) (“A
                                           10 person can manifest assent to contractual terms even without actual notice of those
                                           11 terms.”). That cannot logically be the standard because Amazon could never force
                                           12 a customer to read the terms. Plaintiff carefully avoids saying that he does not have
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                                           13 notice of the existence of such terms. Dkt. 44-2 ¶ 3. To the contrary, his previous
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                                           14 declaration makes clear that he had notice that Amazon had updated its terms and
                                           15 yet he agreed to them again anyway.2
                                           16 III.    MR. WEBER’S REPEATED ASSENT TO AMAZON’S TERMS
                                           17         REQUIRED NO ADDITIONAL NOTICE UNDER DOUGLAS.
                                           18         The rule that Douglas and subsequent cases set is that a modified contract
                                           19 functions as if it were a new agreement. Under Douglas, a business may not rely
                                           20 on a customer’s acceptance of the original contract to provide assent to new terms
                                           21 simply because of a customer’s mere inaction or continued use of a service.
                                           22         That is not the issue here. Amazon does not rely on Mr. Weber’s original
                                           23 acceptance of its terms when he first made a purchase from Amazon, because Mr.
                                           24 Weber subsequently engaged in new and independent transactions. In doing so, he
                                           25 accepted Amazon’s updated terms, which—since August 2011—have contained an
                                           26 arbitration and class waiver provision. Mr. Weber was provided constructive notice
                                           27   2
                                               The Amazon arbitration provision has retroactive effect. Ekin v. Amazon Servs.,
                                           28 LLC, 84 F. Supp. 3d 1172, 1178 (W.D. Wash. 2014).
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                                            1 of the terms during checkout, and he provided his assent when he placed an order.
                                            2         Without any legal support, Plaintiff argues for a higher standard for assent in
                                            3 every instance where two parties had agreed to an earlier contract and later enter
                                            4 into a new one. But the cases Plaintiff cites hold the exact opposite. For instance,
                                            5 in Plazza v. Airbnb, Inc., a court held that Airbnb users were bound by an
                                            6 arbitration clause added to Airbnb’s terms after those customers had first joined the
                                            7 service, because they subsequently agreed to the modified terms. 289 F. Supp. 3d
                                            8 at 547-554. There, the court found that Airbnb provided sufficient notice of its new
                                            9 terms by requiring customers to agree to them before continuing to use the service.
                                           10 Although Airbnb also sent emails to users about the new terms, these emails were
                                           11 “yet another form of notice,” but were not necessary to the holding. Id. at 550-51
                                           12 (“Even without the notice provided after the terms of service were modified, I find
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                                           13 that Airbnb’s original sign-up procedure was sufficient inquiry notice . . . . ”).
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                                           14         At least one other court has enforced Amazon’s arbitration agreements
                                           15 against customers who previously agreed to Amazon COU before Amazon added
                                           16 the arbitration provision. Ekin, 84 F. Supp. 3d at 1177. There, in granting
                                           17 Amazon’s motion to compel arbitration, the court noted that the proper analytical
                                           18 framework is not whether the pre-2011 agreement had been modified, because new
                                           19 transactions with Amazon constituted new, binding agreements. Id. This Court
                                           20 should reach the same conclusion here.
                                           21 IV.     PLAINTIFF’S ARGUMENTS CONCERNING MR. WEBER’S PRIME
                                           22         MEMBERSHIP ARE WRONG AND IRRELEVANT.
                                           23         Plaintiff also attacks Amazon for its decision to withdraw Mr. Weber’s
                                           24 Amazon Prime sign-up as a potential basis for assent. According to Plaintiff,
                                           25 Amazon’s decision “calls into question the veracity and reliability” of the stipulated
                                           26 evidence of Mr. Weber’s desktop and mobile purchase flows. Not so. In inviting
                                           27 this further briefing, the Court instructed that it was to concern the Douglas issue.
                                           28 Dkt. 35 at 17. The Court separately required the parties to confer and, where
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                                             1 possible, stipulate to the accuracy of screen shots of purchase flows that Mr. Weber
                                             2 used. The parties did so. See Dkt. 39. The court further stated that Amazon may
                                             3 submit evidence regarding the activation of Mr. Weber’s membership in Amazon
                                             4 Prime, but Amazon was not obligated to do so.3 Dkt. 35 at 16-17. Amazon
                                             5 accepted the Court’s suggestion to streamline the evidence, focusing on
                                             6 representative screen shots of particular sign-ups showing that Mr. Weber accepted
                                             7 Amazon’s Conditions of Use. This is not a concession of anything, and certainly
                                             8 does not support Plaintiff’s overreaching attempt to convince the Court to disregard
                                             9 the stipulated evidence of Mr. Weber’s repeated acceptance of Amazon’s terms. 4
                                            10                                    CONCLUSION
                                            11         For the reasons stated above, the Court should enforce Mr. Weber’s
                                            12 agreements with Amazon and grant Amazon’s motion to compel arbitration.
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                                            13 Dated: May 25, 2018
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                                                                                       FENWICK & WEST LLP
                                            14                                         By: /s/ Jedediah Wakefield
                                                                                          Jedediah Wakefield
                                            15
                                                                                       Attorneys for Defendants AMAZON.COM,
                                            16                                         INC. and AMAZON SERVICES LLC
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                                            20   3
                                                 As the Court is aware, Amazon Prime gives users access to free two-day delivery,
                                            21 streaming video and music, and other benefits for a monthly or yearly fee. It is not
                                               necessary to join Amazon Prime to make purchases from Amazon, and Mr. Weber
                                            22 repeatedly made purchases, and agreed to Amazon’s Conditions of Use, separately
                                            23 from any Amazon Prime subscription.
                                                 4
                                            24    Plaintiff’s opposition also raises a baseless claim that Audible misrepresented the
                                                 disclosures that Michael Rogawski, a plaintiff in the related McKee action, saw
                                            25   when he redeemed an Audible credit in 2015. Supp. Opp. at 2 n.1. In fact, that
                                                 credit redemption page contained the same hyperlinked disclosure language that
                                            26   Mr. Beals saw (“By completing your purchase, you agree to Audible’s Conditions
                                            27   of Use and Privacy Notice.”), and merely contained additional information
                                                 pertaining to the release date for the pre-order. Audible expects that a stipulation
                                            28   detailing the buy box that Mr. Rogawski saw is forthcoming.
                                                  DEFENDANTS’ SUPP. REPLY ISO
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